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                     EXHIBIT B
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                     SUPPLEMENTARY DECLARATION OF LISA KOOP
                        NATIONAL IMMIGRANT JUSTICE CENTER

1.        I, Lisa Koop, make the following declaration based on my personal knowledge and
          declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true
          and correct.

2.        I am an associate director of legal services at the National Immigrant Justice Center
          (NIJC), where I have worked since 2006. See Dkt. No. 9-6, ¶¶ 4-6. NIJC is a nonprofit
          organization that provides direct legal services to and advocates for immigrants through
          policy reform, impact litigation, and public education.1 Id. at ¶¶ 7-18.

3.        In addition to the declaration that I have previously provided in this case, I am writing to
          further illustrate the substantive harm that NIJC has experienced since the Executive
          Office for Immigration Review’s (EOIR’s) new rule entitled, Appellate Procedures and
          Decisional Finality in Immigration Proceedings; Administrative Closure came into effect.
          See 85 Fed. Reg. 81,588 (Dec. 16, 2020) (hereinafter, “the Rule”).

                    The Rule is Impeding NIJC’s Efforts to Serve Noncitizens

4.        In just one month, EOIR’s new Rule is already adversely impacting NIJC’s work and its
          clients’ ability to pursue their bona fide claims for relief. NIJC and its clients have been
          harmed by various provisions of the Rule, as discussed below.

Elimination of Sua Sponte Reopening

5.        Even before the Rule came into effect, sua sponte reopening was an extraordinary,
          discretionary remedy “reserved for truly exceptional situations.” In Re G-D-, 22 I. & N.
          Dec. 1132, 1133–34 (BIA 1999). NIJC has used this relief accordingly. Yet, the Rule’s
          removal of sua sponte authority to reopen or reconsider cases, 85 Fed. Reg. at 81,591, has
          left NIJC and its clients without recourse to reopen their proceedings despite compelling
          circumstances and in some instance is complicating our ability to accept cases for
          representation.

6.        For example, NIJC is currently evaluating for representation the case of Isabel,2 a 20-
          year-old woman from Honduras who will be unable to become a lawful permanent
          resident because of the Rule’s bar on sua sponte reopening. Isabel first entered the U.S.
          as an infant and was ordered removed in 2001, when she was only 11 months old.
          Thereafter, Isabel continued living in the United States and was placed in foster care
          because her mother failed to protect her from ongoing sexual abuse, which resulted in her



1
 NIJC is a program of Heartland Alliance, a nonprofit social services organization that is
headquartered in Chicago, Illinois.
2
    Client names listed in this declaration are pseudonyms.



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      becoming pregnant at the age of 12. Isabel is now the mother of two U.S. citizen children,
      ages seven and one.

7.    USCIS granted Isabel’s application for Special Immigrant Juvenile Status (SIJS), a form
      of relief for minor noncitizens based on a finding that their parents abandoned, abused, or
      neglected them. Once granted, SIJS provides eligibility for adjustment of status to that of
      a lawful permanent resident. However, SIJS, in itself, provides no relief from removal, no
      eligibility for work authorization, no path for reopening prior removal orders, and no
      other immigration benefits.

8.    Despite her SIJS grant, Isabel cannot adjust her status to lawful permanent resident
      because of the removal order she received when as an infant. Prior to the Rule, NIJC
      would have filed a motion to reopen, arguing for sua sponte reopening in light of these
      exceptional circumstances. Because of the Rule, however, NIJC is faced with two
      options: it can conclude representation in this case is impracticable and decline
      representation to this young woman, which would frustrate its mission to protect and
      serve vulnerable noncitizens like Isabel. Or, NIJC can divert resources to develop novel
      arguments to give Isabel her best chance at obtaining relief, which will require much
      more cumbersome representation and potential federal court appeals on novel legal
      theories. NIJC is likely to choose the latter course, which will require hours of research,
      drafting, and supervision. Given its limited resources, these efforts will require NIJC to
      forego representation on other meritorious claims.

9.    Meanwhile, Isabel remains in legal limbo. She has no protection against removal and is
      unable to independently support her children. Without an injunction, she may remain in
      this position indefinitely.

10.   NIJC recently began representing another child client, Eden, who is similarly stuck in
      legal limbo as a result of the Rule.

11.   Eden entered the United States at the U.S-Mexico border in October 2015, when, as an
      unaccompanied minor, he was sent to a youth shelter operated by the government in San
      Antonio, Texas. From there, he was released to his sister in Indianapolis. However, Eden
      was never able to find counsel, and he did understand that he was required to file a pro se
      Motion to Change Venue to the immigration court serving Indianapolis. In October 2016,
      he was ordered removed in absentia by the immigration court in Texas because he did
      not attend a status hearing.

12.   In October 2018, Eden became a ward of the state, when his sister was no longer able to
      provide for him. He began working with a guardian ad litem, which helped him file an
      application for SIJS based on the neglect and abandonment of his father and death of his
      mother. USCIS granted his SIJS application in July 2020, and the guardian ad litem
      referred Eden’s case to NIJC.

13.   NIJC decided to accept Eden’s case for representation in October 2020, before the final
      Rule was issued, on the assumption that NIJC would assist Eden with sua sponte



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      reopening of his in absentia removal order in light of the exceptional circumstances and,
      once reopened, help him adjust status to a lawful permanent resident.

14.   However, now that the Rule went into effect, NIJC is unable to provide these services. It
      is confronted with the same catch-22 described above: it can either terminate its
      representation of Eden on the basis that there are no viable options to adjust status, or it
      can divert significant resources to developing new or alternative legal defense strategies
      that are unlikely to succeed.

15.   NIJC represents numerous clients in situations similar to Isabel’s and Eden’s. In most
      cases, NIJC will have to forego representation where sua sponte reopening would have
      been the only viable claim for relief, leaving those potential clients without recourse and
      frustrating NIJC’s mission to advocate for their rights. For other cases, NIJC will have to
      expend its limited resources in developing and litigating alternate, novel arguments that
      may give its clients a chance to reopen their cases despite the Rule’s restrictions.

Remand Restrictions

16.   Similarly, NIJC and its clients are being actively harmed by the Rule’s limitations on the
      BIA’s ability to remand proceedings for additional factfinding. See 85 Fed. Reg. at
      81,651 (new 8 C.F.R. § 1003.1(d)(3)(iv)(D)); see also Dkt. No. 1, ¶¶ 111-21. Because of
      this restriction, NIJC’s ability to pursue relief for its clients will be limited; it will need to
      divert additional resources to those cases it is able to pursue, and its clients will be
      exposed to removal and other harms.

17.   One such case is that of Gloria, a transgender woman from El Salvador who came to the
      U.S. seeking asylum in 2018. Since then, she has been litigating her claims for asylum,
      withholding of removal, and protection under the Convention Against Torture before
      EOIR and the Tenth Circuit Court of appeals. In July 2019, rather than filing a brief in
      the Tenth Circuit, the Government sought and received a remand to the Agency for
      further factual findings related to the applicability of certain bars to asylum. The BIA in
      turn remanded her case for additional factfinding to the immigration judge. These
      developments all occurred before the Rule’s effective date in January 2021.

18.   On remand, however, the IJ again denied relief. Though the IJ did reevaluate some
      findings (and did make a positive credibility finding where she had previously made a
      negative one), there was no new evidentiary hearing, and there were no new submissions.
      In other words, the new fact finding that was previously contemplated did not happen.
      Because Gloria’s second appeal postdates the Rule’s effective date, the BIA will be
      limited in its ability to order remand to conduct the factfinding that was clearly
      contemplated by the original remand from the Tenth Circuit.

19.   Before the Rule, NIJC would have requested that the BIA correct the IJ’s failure to
      address its directives and, once again, remand for further factfinding. Instead, NIJC will
      be precluded from making such arguments, requiring it to divert resources to raise
      alternate arguments as well as to develop novel arguments regarding the propriety of the




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       Rule’s provisions within the context of removal proceedings. This will require numerous
       hours of research, drafting, and supervision. Moreover, because the BIA will have no
       authority to rule on such procedural arguments, a further appeal to the Tenth Circuit is
       nearly certain. Such an appeal will require hundreds of hours from both NIJC staff and its
       pro bono partners, limiting the number of additional matters NIJC can undertake.

20.    The possibility of additional appellate proceedings, which may take years to resolve, is
       particularly troubling in Gloria’s case. During the pendency of her Tenth Circuit appeal,
       Gloria was removed. She now lives in a migrant shelter in Mexico, struggling to meet her
       basic necessities and particularly vulnerable to violence and death as a transgender
       migrant woman living in a country with pervasive transphobic violence and relentless
       targeting of migrants by criminal cartels.

21.    Notably, Gloria’s case is not unique. As part of its impact litigation practice, NIJC
       litigates a number of petitions for review before U.S. Courts of Appeals every year.
       Because many of these cases involved previously pro se petitioners, NIJC often argues
       for remand for additional factfinding, acknowledging that the courts of appeals, as
       appellate bodies, do not have the findings required to make a final adjudication on the
       merits. As this case illustrates, however, such a remand would be futile in light of the
       new Rule. The dichotomy between judicial appellate practice and this Rule’s limitations
       on the BIA will create confusion and require additional litigation, thus frustrating NIJC’s
       mission and requiring it to divert its resources to challenge this issue.

Elimination of Administrative Closure

22.    The Rule’s prohibition on administrative closure, see 8 C.F.R. §§ 1003.1(d)(1)(ii),
       1003.10(b), is similarly harming NIJC and its clients.

23.    For example, NIJC has existing clients for whom it would have liked to have sought
       administrative closure, but now cannot. Oscar is one such client. He is a young man who
       has received SIJS status and who is seeking adjustment of status, with USCIS. Oscar is
       detained and NIJC had intended to seek administrative closure once it received a receipt
       notice from USCIS regarding his adjustment application. That process would have been
       possible in the Seventh Circuit, where Oscar is detained because of Meza Morales v.
       Barr, 973 F. 3d 656 (7th Cir. 2020). If NIJC had been able to seek administrative closure,
       we would have had a firmer basis on which to advocate for Oscar’s release from
       detention. Unfortunately, the USCIS receipt notice for Oscar’s adjustment application
       arrived after the Rule’s effective date, which meant an application for administrative
       closure is no longer viable. Now, NIJC must pursue a petition for a writ of habeas corpus,
       counsel the client as his mental health continues to deteriorate in detention, and appear at
       periodic hearings to ask for ongoing continuances while USCIS adjudicates his claim, a
       process that is likely to take a year or more.




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24.    NIJC’s client Mayra is in a similar situation. She has lived in the United States since she
       was 10 years old and is the mother of three U.S. citizen children. Maria has suffered
       multiple instances of sexual abuse, starting at the age of three. This trauma led to drug
       use, and as a result, Mayra was detained by immigration authorities. She has been in
       immigration detention since July 2020. Mayra has applied for a U-Visa with USCIS, and
       has concurrently obtained a waiver of her grounds of inadmissibility from an immigration
       judge. Mayra need only wait for USCIS to adjudicate her U visa application, but it will
       take many months if not longer for USCIS to make its initial determination as to her U
       Visa application. Given the pendency of her U Visa application and without the
       possibility of seeking administrative closure, NIJC has been requesting continuances
       every few weeks. But the IJ has discretion, and indeed will eventually be expected, to
       deny such continuances.

25.    Before the Rule, NIJC planned to pursue administrative closure in Mayra’s case, which
       would have prevented Mayra from being removed while her U visa application remains
       pending, avoid the need for NIJC staff to appear in court every few weeks to request a
       continuance, and support judicial efficiency. Moreover, as in Oscar’s case, a grant of
       administrative closure would have facilitated efforts to end Mayra’s prolonged detention.

26.    NIJC is also harmed by the lack of administrative closure in the non-detained context.
       NIJC represents Monica and her two minor children, who are all in removal proceedings.
       NIJC applied for protection for Monica under the Violence Against Women Act
       (VAWA) based on abuse that she suffered at the hands of her U.S. Citizen spouse,
       including violence so severe she was forced to flee to a shelter with her children. Monica
       recently received notice from USCIS that it had made a prima facie determination that
       she qualifies for VAWA protections. NIJC had hoped to use this prima facie
       determination as the basis to advocate for administrative closure for Monica, since it will
       take 12 to 17 months for the VAWA application to receive final adjudication. Because of
       the Rule, administrative closure is not available and Monica must proceed on other forms
       or release, including asylum and VAWA cancellation of removal, in advance of her
       merits hearing in 2022. These forms of relief are labor intensive and that work will more
       than likely be moot once the VAWA petition is adjudicated by USCIS. But because the
       case cannot be administratively closed, NIJC must prepare all forms of relief at once even
       though it is a waste of the Court’s resources and NIJC’s resources for this case to remain
       open.

27.    In all of these cases, NIJC’s resources will be diverted to continuing to unnecessarily
       litigate those cases while concurrently representing those clients before USCIS.

Overarching Injuries

28.    In addition to the case examples above, the Rule has also required NIJC to divert
       resources in other respects. In particular, NIJC has begun working in collaboration with
       CLINIC, also a plaintiff in this case, to produce legal education materials regarding the
       impact of the Rule. Those materials will include a practice advisory, a video webinar, and
       potentially tools for use by pro se litigants. NIJC will rely on these materials to educate




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